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   IT IS ORDERED as set forth below:



   Date: February 9, 2021
                                                _________________________________

                                                           Sage M. Sigler
                                                    U.S. Bankruptcy Court Judge

 ________________________________________________________________


                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


                                          )       CHAPTER 7
IN RE:                                    )
                                          )       CASE NO. 20-62468-SMS
WONDALYN SHANTE BAILEY,                   )
                                          )
        Debtor.                           )
                                          )
                                          )
S. GREGORY HAYS, Chapter 7 Trustee        )
For the Estate of Wondalyn Shante Bailey, )
                                          )
        Movant,                           )
v.                                        )       CONTESTED MATTER
                                          )
CARRINGTON MORTGAGE SERVICES, LLC,)
THE FAIRWAY’S AT COTTONFIELDS             )
HOMEOWNERS ASSOCIATION, INC.,             )
HENRY COUNTY TAX COMMISSIONER,            )
WONDALYN SHANTE BAILEY,                   )
                                          )
        Respondents.                      )

          ORDER GRANTING TRUSTEE’S MOTION FOR AUTHORITY TO
  (A) SELL PROPERTY OF THE BANKRUPTCY ESTATE FREE AND CLEAR OF ALL
      LIENS, INTERESTS, AND ENCUMBRANCES AND (B) DISBURSE CERTAIN
                          PROCEEDS AT CLOSING


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        On January 13, 2021, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of Wondalyn Shante Bailey (“Debtor”), filed

Trustee’s Motion for Authority to (A) Sell of Property of the Bankruptcy Estate Free and Clear of

Liens, Interests, and Encumbrances and (B) Disbursement of Certain Proceeds at Closing [Doc.

No. 29] (the “Sale Motion”), seeking, among other things, an order from the Court authorizing

the sale (the “Sale”) of that certain improved real property commonly known as 233 Long Drive,

McDonough, Henry County, Georgia 30253 (the “Property”) pursuant to 11 U.S.C. §§ 363(b),

(f), and (m), and Fed. R. Bankr. P. 2002(a)(2), 6004(a), 6004(c), and 9014, to W. Y. International

LLC (the “Purchaser”) in accordance with the terms of a Purchase and Sale Agreement (the

“Contract”) attached to the Sale Motion as Exhibit “A.”

        Also on January 13, 2021, Trustee filed Notice of Hearing [Doc. No. 31] (the “Notice”)

setting the Sale Motion for hearing on February 10, 2021 (the “Hearing”).

        Counsel for Trustee asserts that he served the Notice on all requisite parties in interest.

See [Doc. No. 31].

        No creditor or party in interest filed an objection to the relief requested in the Sale

Motion or appeared at the Hearing to oppose the relief requested in the Sale Motion. Debtor did

appear at the Hearing but voiced no opposition to the relief requested in the Sale Motion.

        Having considered the Sale Motion and all other matters of record, including the lack of

objection by any creditor or party in interest to the relief requested in the Sale Motion, and for

good cause shown, it is hereby Motion, it is hereby

        ORDERED that the Sale Motion is GRANTED. It is further

        ORDERED that Trustee is authorized and directed to take any and all actions necessary




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or appropriate to (i) consummate the Sale of the Property to Purchaser; (ii) execute, perform,

consummate, implement, and close fully the Sale together with all additional instruments and

documents that may be reasonably necessary; and (iii) execute and perform all of the obligations

of Trustee under the Sale Agreement. It is further

        ORDERED that this Order shall be binding upon all creditors (whether known or

unknown) of Debtor, Purchaser, Trustee, the Bankruptcy Estate, and their respective successors,

assigns, affiliates, and subsidiaries. It is further

        ORDERED that upon consummation of the closing of the Sale, the Property shall be

transferred and assigned to Purchaser free and clear of all liens, claims, interests, and

encumbrances with all unpaid, valid, and enforceable liens, claims, interests, or encumbrances

attaching to the sale proceeds with the same extent, validity, and priority that they held in the

Property. It is further

        ORDERED that the Sale of the Property to the Purchaser is “as is,” “where is,” and

without representation or warranty, express or implied, from Trustee. It is further

        ORDERED that the transactions contemplated by the Sale Agreement and this Order are

undertaken by the Purchaser in good faith, as that term is used in Section 363(m) of the

Bankruptcy Code, and accordingly, the reversal or modification on appeal of the authorization

provided herein to consummate the Sale of the Property shall not affect the validity of the Sale to

the Purchaser, unless such authorization is duly stayed pending such appeal. The Purchaser is a

purchaser in good faith of the Property, and he is entitled to all the protections afforded by

Section 363(m) of the Bankruptcy Code. It is further

        ORDERED that, under Fed. R. Bankr. P. 6004(h), this Order shall be effective and

enforceable immediately upon entry, and its provisions shall be self-executing. In the absence of



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any person or entity obtaining a stay pending appeal, Trustee and Purchaser are free to close the

Sale of the Property at any time, at which time the gross sales proceeds shall be paid to Trustee

pursuant to this Order, and those disbursements requested by the Trustee in the Sale Motion are

authorized to be made, including but not limited to, payment to Debtor for her homestead

exemption in the amount of $21,500.00 (the “Homestead Exemption”), care of her attorney Eric

Thorstenberg.    Alternatively, Debtor may attend the closing and receive her Homestead

Exemption after providing proper identification. It is further

        ORDERED that this Court retains exclusive jurisdiction over any action relating to,

based upon, or arising from disputes or controversies relating to or concerning the Sale, the Sale

Agreement, or this Order.

                                    [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Chapter 7 Trustee

By:/s/ Michael J. Bargar
   Michael J. Bargar
   Georgia Bar No. 645709
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Identification of parties to be served:

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30363-1031

S. Gregory Hays, Chapter 7 Trustee, Hays Financial Consulting, LLC, Suite 555, 2964 Peachtree
Road, Atlanta, GA 30305



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Carrington Mortgage Services, LLC, c/o C T Corporation System, 289 S. Culver Street,
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Bruce Rose, CEO, Carrington Mortgage Services, Inc., 1600 South Douglass Road, Suite 110 &
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Michael C. Harris, Henry County Tax Commissioner, 140 Henry Parkway, McDonough, GA
30253

The Fairway’s at Cottonfields, Homeowners Association, Inc., c/o Sentry Management Inc., its
R. A., 303 Corporate Center Drive, Suite 300A, Stockbridge, GA 30281

Barbara Boggess, CEO, The Fairway’s at Cottonfields, Homeowners Association, Inc., 2180
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Eric E. Thorstenberg, Deighan Law LLC, Suite 101, 333 Sandy Springs Circle, Atlanta, GA
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Michael Campbell, Attention: Denise Hammock, Campbell & Brannon, LLC, Attention: Denise
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